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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
DEMOCRACY FORWARD FOUNDATION, )
                                        )
      Plaintiff,                       )
                                        )
      v.                                ) Civil Action No. 18-1597 (RBW)
                                        )
FEDERAL EMERGENCY MANAGEMENT )
AGENCY,                                )
                                        )
      Defendant.                       )
_______________________________________)

                              STIPULATION OF DISMISSAL

       Plaintiff, Democracy Forward Foundation, and Defendant, the Federal Emergency

Management Agency, hereby stipulate to the dismissal of this matter with prejudice pursuant to

Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. Each party will bear its own

attorneys’ fees and costs.

February 7, 2019                                    Respectfully submitted,

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